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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                     Criminal No. 06-440(1) (RHK/AJB)

UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiff,            )
                                        )       ORDER
       v.                               )
                                        )
JOSE ALBERTO MARQUEZ-RIOS,              )
                                        )
                  Defendant.            )



       This matter is before the Court upon the joint motion of the

parties     pursuant    to     18    U.S.C.    §   3161(h)(8)(A)      to   toll    the

running of the Speedy Trial Act clock for a period of 45 days.

This   motion   is     based    on    the     defendant’s    motion     for   a    new

attorney, which this Court granted on April 30, 2007.                              The

parties have agreed and the Court concurs that an exclusion of

45 days from the running of the Speedy Trial Act clock is

necessary and appropriate to give the new attorney time                            to

familiarize himself or herself with the case.                   The Court further

finds that the ends of justice served by the granting of such

continuance outweigh the best interest of the public and the

defendant in a speedy trial.

       Accordingly, IT IS HEREBY ORDERED that the parties’ Joint

Motion to Toll the Running of the Speedy Trial Act Clock is

granted.
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    IT IS FURTHER ORDERED that the period of time from April 30,

2007 through June 14, 2007, shall be excluded from the Speedy

Trial Act computations in this case.1



Dated:   5/3/07           s/Richard H. Kyle
                          RICHARD H. KYLE
                          United States District Court Sr. Judge




    1The time from the filing of the defendant’s motion for new
counsel (April 24, 2007) through this Court’s ruling on that
motion (April 30, 2007) shall also be excluded.

                                   2
